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                                               UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF TEXAS
                                                       SHERMAN DIVISION

IN RE:                                                                                 §
  Remarkable Healthcare of                                                             §     Case No. 24-40605
  Carrollton, LP. et al.                                                               §   (Jointly Administered)
                                                                                       §
             Debtor(s).                                                                §

             RESPONSE TO DEBTORS’ OBJECTION TO JOINT NOTICE OF
             DEPOSITION DESIGNATION (RE: DOCKET NO. 300)

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

             KRS CARROLLTON, LLC, KRS DALLAS, LLC, KRS FORT WORTH, LLC, and

KRS SEGUIN, LLC (collectively, “KRS”), object to the above-captioned motion.

             1.            Naturally the Debtors don’t like the testimony, which includes the critical

information that Laurie Beth McPike insisted that uncollectible accounts could not be removed

from the a-r records in order to keep the borrowing base high. According to the testimony, there

is an estimated $2 million or more overstatement of the a-r.




             2.            The Debtors also don’t like that Ms. Bowers thankfully has not suffered cancer

during the time in question and only missed three (3) days of work in recent months due to

medical issues. Depo. at p. 30, ln. 4-18, Docket No. 283, p. 32.




OBJECTION (RE: DOCKET NO. 300) — Page 1
objection motion exclude Bowers depo 4877-9282-4534 v.4.docx[1]/4879-8045-5126, v. 3
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             3.            The deposition testimony is expressly contrary to courtroom testimony of John

McPike as to (supposed) problems with billing and the double-down and stomp hard

representations of Ms. Boydston.




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objection motion exclude Bowers depo 4877-9282-4534 v.4.docx[1]/4879-8045-5126, v. 3
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             4.            No response was required to Mr. Schlan on August 2, 2024. Notice was provided,

and notice was quickly acknowledged. Mr. Schlan didn’t protest the date, time, or manner of

notice, no pleading was filed, and the only substance of the response was the further commission

of the fundamental falsehood that Ms. Bowers was gravely ill and away from work.

             5.            In reality, Ms. Bowers had left the employment of the Debtor(s) as of July 26,

2024, the date of the supposed hospitalization in the email exchange excerpted above.




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             6.            The witness is not available for the August 9, 2024 hearings, and a deposition was

taken without protest to the notice. Deflection, yes, protest, no. In fact, the deposition was

scheduled in the afternoon of August 5, 2024 because Mr. Schlan had indicated in reference to a

previous inquiry that he was busy that morning.

             7.            Exactly who perpetuated the falsehood which Mr. Schlan is said to have fallen

victim may never be known, but it is a very small circle. In any event, it was not the place of the

creditors to correct the misinformation supplied by the Debtors and/or other counsel to Mr.

Schlan that was repeated yet again.

             8.            KRS will present additional argument and/or analysis in the event that a hearing is

set on the subject motion or the Court otherwise considers these questions.

             WHEREFORE, KRS Carrollton LLC et al. respectfully request that the Court deny the

Motion and admit into evidence the entirety of the deposition transcript of Ms. Bowers.

Landlords respectfully request such other and further relief to which they are entitled at law or in

equity.




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Dated: August 8, 2024                                                   Respectfully submitted:

                                                                          WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                                          By:       /s/ Jeff Carruth
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                                                                          ATTORNEYS FOR:


                                                                          KRS CARROLLTON, LLC
                                                                          KRS DALLAS, LLC
                                                                          KRS FORT WORTH, LLC
                                                                          KRS SEGUIN, LLC



                               CERTIFICATE OF SERVICE
       On August 8, 2024, I hereby certify that a true and correct copy of the foregoing Notice
of Appearance was served upon all registered ECF users who have appeared in this case to date
through the ECF noticing system.

                                                                                             /s/ Jeff Carruth
                                                                                             JEFF CARRUTH




OBJECTION (RE: DOCKET NO. 300) — Page 5
objection motion exclude Bowers depo 4877-9282-4534 v.4.docx[1]/4879-8045-5126, v. 3
